            Case: 22-1458 Document:
Case 2:20-cv-11718-GAD-DRG  ECF No. 28   Filed: 04/28/2023
                                    68, PageID.2745           Page: 1 Page 1 of 2
                                                       Filed 04/28/23




                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                 Tel. (513) 564-7000
       Clerk                       CINCINNATI, OHIO 45202-3988               www.ca6.uscourts.gov




                                                  Filed: April 28, 2023




Ms. Kinikia D. Essix
Eastern District of Michigan at Detroit
231 W. Lafayette Boulevard
Fifth Floor Theodore Levin U.S. Courthouse
Detroit, MI 48226-0000

                     Re: Case No. 22-1458, Anthony Eid v. Wayne State University, et al
                         Originating Case No. 2:20-cv-11718

Dear Clerk,

   Enclosed is a copy of the mandate filed in this case.

                                                  Sincerely yours,

                                                  s/Robin L Baker, Case Manager for
                                                  Ryan E. Orme, Case Manager
                                                  Direct Dial No. 513-564-7079

cc: Mr. Joshua Adam Engel
    Ms. Elizabeth Phelps Hardy
    Mr. David Andrew Porter

Enclosure
            Case: 22-1458 Document:
Case 2:20-cv-11718-GAD-DRG  ECF No. 28   Filed: 04/28/2023
                                    68, PageID.2746           Page: 2 Page 2 of 2
                                                       Filed 04/28/23




                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT

                                           ________________

                                              No: 22-1458
                                           ________________

                                                                      Filed: April 28, 2023

ANTHONY EID

                Plaintiff - Appellant

v.

WAYNE STATE UNIVERSITY; WAYNE STATE UNIVERSITY SCHOOL OF MEDICINE;
NIKOLINA CAMAJ; MARGIT CHADWELL; MATT JACKSON; RICHARD S. BAKER; R.
DARRIN ELLIS

                Defendants - Appellees



                                            MANDATE

     Pursuant to the court's disposition that was filed 03/15/2023 the mandate for this case hereby

issues today.



COSTS: None
